Case 2:04-cr-20421-.]DB Document 107 Filed 08/01/05 Page 1 of 2 Page|D 92

Fsi.ED ar __, .____ o.c.
IN THE oNITEI) sTATEs DISTRICT CoURT
FoR THE WEsTERN DISTRICT oF TENNESSEE 8 m n _ 00
WESTERN nlvlslo 05 AU " '

UNITED STATES OF AMERICA,

 

Plaintiff,
vs. Case No. 04cr20421-B
DESHUN NINA GREEN

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

Thi.s matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registi‘y in the sum of $500.00,
payable to Caroline Green at 229 West Jefferson, West Memphis, AR 723()1 in full refund of the

cash appearance bond posted herein.

 

. D NLEL BREEN \
Uni d States District Judge

Approved.
Thomas M. Gould, Clerk of Co
§

  
 

BY:
Deputy Clerk

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 107 in
case 2:04-CR-20421 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

